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Exhibit C
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From: Bob Kolker <bobkolker@gmail.com>
Date: Tue, Mar 16, 2021 at 11:49 AM
Subject: Interview request, from the NY Times Magazine
To: Sonya Larson <larsonya@gmail.com>

Dear Sonya,

Hello. I’m Robert Kolker, a journalist and nonfiction author, and I’m contacting you today about the legal
situation you’re in with Dawn Dorland. I’ve been reading and researching the case — and about your efforts to
preserve your rights over your own creative material — and I’d be grateful for the chance to talk with you for
a feature story I’m writing for The New York Times Magazine.

I’m happy to explain more about the Times Magazine’s plan for this article when we talk. But for now let me
just say that in going through all the available court documents, I’m struck by everything you've been through.
At first glance, this case clearly touches on some deeper issues like the line between life and art, and art and
memoir, and nonfiction and fiction, and copyrighted intellectual property and open source material. But the more
I’ve looked at it, my sense of things — and one reason why I’m looking forward to talking with you — is how
above all, it seems to me that this case is about an artist who became the target of a protracted effort to discredit
her work, and now is fighting to preserve control over her creative life.

I believe, and my editors agree, that this is the ideal time to publish a carefully considered story about the case.
The February ruling by the judge, by my reading, gives a lot of momentum to the case itself, which frames
things well in my view. I’d welcome the chance to talk with you when you can.

A little background about me: My editors have chosen me, I think, because of my reputation for writing about
potentially complex and sensitive subjects in a humanistic way. My most recent book, Hidden Valley Road, was
a #1 New York Times best-seller; a selection of Oprah's Book Club; a Top Ten book of the year for the Times,
the Washington Post, the Boston Globe, and the Wall Street J ournal; and one of President Barack Obama’s
favorite books of 2020. Previously, I wrote another nonfiction bestseller, Lost Girls, about five women
connected to the same murder investigation. And before that I spent many years writing features and cover
stories for the Times Magazine, New York magazine and other publications. (My website is

here: robertkolker.com.) As I hope you’!l see from my other work, I do not come in to stories as a judge and
jury. My goal is to understand the complexities of a situation and help people understand what it must be like to
be experiencing it.

 

Many thanks for the chance to be in touch about this. Please call me anytime at 917-743-9843, or let me know
the best time and number for calling you. And I look forward to talking with you.

All best,

Bob Kolker
